                Case: 22-20573                Document: 46              Page: 1          Date Filed: 07/07/2023

                                 ORAL ARGUMENT ACKNOWLEDGMENT FORM
       U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, 600 S. Maestri Place, New Orleans, LA 70130
                                         (504) 310-7700



I, Lauren Suzanne Kuley
                                                               (Full Name)

   as arguing counsel, acknowledge receiving notice that the below case has been scheduled for
   oral argument with the United States Court of Appeals for the Fifth Circuit.


   22-20573                      LNY 5003                                          v. Zurich American Insurance
      (Case Number)                                                           (Short Title)

   is scheduled for oral argument at                 9:00 am       on               August 9, 2023                     located in the
                                                      (Time)                                  (Date)

   NEW ORLEANS - U.S. Court of Appeals for the Fifth Circuit, 600 Camp Street, New Orleans, LA, 70130
                                                               (Location)



   /s/ Lauren Suzanne Kuley                                                                                  July 7, 2023
                                       (Signature)                                                               (Date)



                     List all parties being represented for argument and select the party type
   Zurich American Insurance Company




                             ■

    Appellant          Appellee             Cross Appellant                 Cross Appellee              Amicus            Intervenor
       According to this court's rules, a cross or separate appeal will be argued with the initial appeal during the same argument,
       unless the court directs otherwise. If a case involves a cross appeal, the party who first files a notice of appeal is
       considered the appellant unless the parties otherwise agree or the court directs otherwise. If separate appellants support
       the same argument, they are to avoid duplication of argument.
      THE ORDER OF PRESENTATION & DIVISION OF ORAL ARGUMENT TIME WILL BE AS FOLLOWS:
                                 (Counsel Name)                               (Time in Minutes)            (Rebuttal Time)*
       #1 Kelsi Stayart White                                                       15                             5
       #2 Lauren S. Kuley                                                           20
       #3
       #4
       #5

         SESSION #      04
                  *Rebuttal time for appellants only. The court prefers no more than 5 minutes for rebuttal.



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